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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA

                        Plaintiff,

      v.                                             Case No. 17-CR-10142-EFM

BOGDANA ALEXANDROVNA MOBLEY,
aka BOGDANA ALEXANDROVNA
OSIPOVA,

                        Defendant.



            UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION FOR
                       IMMEDIATE RELEASE (DOC. 166)

       The undersigned AUSA has been advised further appellate review is not authorized

by the Solicitor General’s Office, such that the defendant’s motion (Doc. 166) should be

granted on the basis the defendant has served as much or more time than authorized for the

count of conviction under 18 U.S.C. §1204. The defendant should be released from Bureau

of Prison’s custody and ordered to appear for resentencing before this Court.


                                                    Respectfully submitted,
                                                    STEVEN R. McALLISTER
                                                    United States Attorney


                                                    s/Jason W. Hart
                                                    JASON W. HART
                                                    KS Sup. Ct. No. 20276
                                                    Assistant United States Attorney
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                                                    Jason.hart2@usdoj.gov


                                CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2020, the foregoing was electronically filed with the

clerk of the court by using the CM/ECF system, with a paper copy mailed to the defendant:

Bogdana Osipova Mobley
Inmate # 28882-031
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33 1/2 Pembroke Road
Route 37
Danbury, CT 06811


                                                    s/Jason W. Hart
                                                    JASON W. HART




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